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                  EXHIBIT 14
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                                                     U.S. Department of ,Justice
                                                                                                                   I.
                                                     Criminal Division


VAA:WHG:JEC:EEM:jmf

Office ofinternational Affairs                       Washington, D.C. 20530




                                                     May 1, 2017

VIA E"MAIL AND .FEDEX •

Deborah Hand
United Kingdom Central Authority
Home Office
3rd Floor, Seacole Building
2 Marsh.am Street
London, England SWlP 4DF

         Re:       Supplemental Request for Assistance in the Investigation of Autonomy
                   Corporation; OIA Reference Number: 182-53177 (please use when responding)
                                                          I

Dear Ms. Hand:

        Enclosed please fmd a supplemental request for assistance concerning the above-
referenced matter. The original request was dated January 29, 2015. This suppleme11tal request
incorporates by reference the original request. Further to the assistance sought in the original
request, the prosecutor seeks additional business records.    •

        Please do not hesitate to contact me at (202) 305-1643 or at Erin.Mik:ita@usdoj.gov or
Intetnational Affairs Specialist Jason Fischer at (202) 305-1995 or at Jason.Fischer@usdoj.gov if
you have any questions.                                                                                        l
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                                                     Sincerely,
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                                                     Vaughn A Ary                                              I


                                                     Director
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                                                     Erin E. Mikita
                                                     Tl'ial Attorney                                           I
Enclosure -                                                                                                    i
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                                                       U.S. Department of Justice

                                                       Criminal Division
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DOJ No. 182-53177
Office ofInternational Affairs                         Washington, D.C. 20530



TO:                The Central Authority of the United Kingdom

SUBJECT:           Supplemental Request for Assistance in the Investigation of Autonomy
                   Corporation

         The Central Authority of the United States of America requests further assistance ofth.e

Central Authority of the United IGngdom pursuant to the 1994 Treaty of Mutual Legal

Assistance in Criminal Matters between the United States of America and the United Kingdom,

as amended by the 16 December 2004 Instrument and exchange of notes (the Treaty),

         The United States Attorney's Office for the Northern District of California (the

Prosecutor) and the Federal Bureau of Investigation (collectively, the U.S. authorities) have been

investigating violations of U.S. criminal law involving a scheme to defraud Hewlett-Packard

Company (HP) and others based on Autonomy Co1poration plc' s (Autonomy) materially

misstated financial statements. U.S. authorities are investigating whether Autonomy misstated

its financial performance in annual and quarterly reports and made other misstatements as part of

a scheme to defraud HP and ofu.ers.

         On January 29, 2016, the United States transmitted a request to the United Kingdom

asking for bank, brokerage, and business records (Original Request). The United Kingdom has

provided certain rec9rds and continues to respond to the Original Request. The Original Request

is hereby incorporated by reference in its entirety.

         The United States now seeks assistauce in obtaining additional business records,

specifically: (1) documents related to a "data room" established by Autonomy's U .K. counsel




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Slaughter and May in connection with HP' s due diligence prior to acquisition of Autonomy and

(2) documents prepared by Emst & Young LLP in the United Kingdom in connection -with an

audit of an Autonomy subsidiary's financial statements. The United States is requesting

documents from Slaughter & May because the Prosecutor believes they will help evidence the

representations Autonomy made and the information Autonomy provided to HP during due

diligence. The United States is requesting documents prepared by Emst & Young LLP because

the Prosecutor believes they will help evidence the falsity of Autonomy's financial statements.

                                       CONFIDENTIALITY

        The details of this criminal investigation are considered sensitive. Accordingly, please

keep this request confidential in all respects, and do not share its contents, its subject matter, or

the fact that 1he request has been made with any private persons (including 1he subjects of the

investigation) or any government officials whose knowledge is not absolutely necessary for

purposes of executing this request. In addition, please advise all who must be made aware of this

request for assistance that the request, its contents, and its subject matter are to be kept

confidential aud should not be shared. If the request cannot be executed without public

disclosure, the United States asks that the authorities of the United Kingdom notify the Central

Authority of the United States before any action is taken towards execution.

                                      ADDITIONAL FACTS

       As stated in the O1iginal Request, in late 2010 or early 2011, Michael Richard Lynch

(Lynch), co-founder of Autonomy and its Chief Executive Officer from 1996 until May 2012,

authorized an investment banker based in Califomia to approach HP and other companies about

the possibility of acquiring Autonomy.



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       On or about February 3, 2011, Lynch and Sushovan Tareque Hussain (Hussain),

Autonomy's Chief Financial Officer from June 2001 until May 2012, participated in a video

conference with HP representatives in Palo Alto, California, to discuss Autonomy's business and

performance. On or about March 4, 2011, Lynch and Hussain participated in a second video

conference with HP representatives to discuss Autonomy's business and performance.

illtimately, HP decided to conduct due diligence of Autonomy prior to making an offer to

acquire Autonomy.

       Autonomy engaged Slaughter and May, a U.K. law firm located at One Bunhill Row,

London, ECl Y 8YY, to ad.vise it in connection with the potential HP acquisition. On or about

August 1, 2011, Slaughter and May established a virtual "data room," referred to as Project

Daniel lRoom, to enable Autonomy to share documents with HP and its advisors. The data

room, available at https://lroom.slaughterandmay.com/eRoom/facl/ProjectDaniel, provided a

web~based envfronment where users could share and view files. Data room users were given a

password and the ability to log onto the website to review available information. Between

August 1, 2011, and the date of the acquisition (approximately October 3, 2011), Autonomy

officers forwarded documents to Slaughter and May to be uploaded into the data room. After

Slaughter and May uploaded documents into the data room, data room users received an e-mail

indicating that new documents had been added.

       For example, on or about August 4, 2011, Anthony Hartley, a trainee solicitor with

Slaughter and May, e-mailed HP's advisers alerting them that documents had been added to the

data room. These documents included files titled "I.D-01-Copy of Top 40 contracts 2010-11

FINAL-r.pdf' and "I.D-02-Copy of Top 40 Customer Analysis 2010-2011 FINAL-r.pdf' as well

as redacted versions of customer contracts. On or about August 5, 2011, an Autonomy officer

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represented to HP that lists of Autonomy's top 40 customers by revenue and top 40 contracts by

revenue had been placed in the data room.

       U.S. authorities' investigation has revealed that the lists of top 40 customers and top 40

contracts by revenue provided by Autonomy and uploaded to the data room did not accurately

represent Autonomy's top 40 customers and top 40 contracts by revenue. The list of

Autonomy's top 40 customers omitted customers that purchased exclusively hardware, as well as

hardware revenue from Autonomy customers who purchased both hardware and software. The

list of Autonomy's top 40 contracts by revenue omitted at least two contracts involving only the

sale of hardware, as well as other contracts that might have alerted HP to questionable

accounting practices by Autonomy. U.S. authorities believe that the omissions from the lists of

top 40 customers and top 40 contracts were intended to conceal Autonomy's questionable

accounting practic~. Moteover, U.S. authorities believe the omissions were intended to conceal

the significance of its hardware sales. U.S. authorities believe Autonomy failed to disclose that it

engaged in substantial sales of third-party computer hardware, without modification and

unaccompanied by any Autonomy software, because omitting this information made Autonomy

look like a quickly growing software company rather than a more slowly growing hardware

company.

       In or after 2012, after the acquisition, HP commenced an internal investigation into

accounting improprieties, disclosure failures, and misrepresentations by Autonomy, including

one of its subsidiaries, Autonomy Systems Limlted (ASL), with a registered office in Berkshire,

England, The internal investigation revealed extensive errors in ASL's previously-issued

financial statements.



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                   On or about February 15, 2013, ASL hired Ernst & Young LLP, a U.K. accounting firm

          with offices at Apex Plaza, Forbury Road, Reading, Berkshire RGI IYE (+44 118 928 1100) and

          1 More London Place, London, SEl 2AF (+44 20 79512000), to audit the financial statements

          of ASL, as ASL is required to file accurate audited :financial statements in the United Kingdom.

          Ernst & Young LLP performed extensive audit work, and by December 2013, it bad incurred

          approximately £1. 6 million in fees.

                   On or about January 31, 2014, ASL issued its Report and Financial Statements for the 10

          month-period ending October 31, 2011, which restated ASL's previously-issued :finai:tcial

          statements for the year ending December 31, 2010, principally relating to the recognition of

          revenue and costs (the ASL Report). 1 As a result, ASL' s revenue for the year ending December

          31, 2010, was substantially reduced, The financial results in the ASL Report reflected

          adjustments for transactions by other Autonomy subsidiaries, which contributed to Autonomy's

          overall revenue in 2010 and the first two quarters of 2011. The ASL Report thus quantified the

          magnitude by which Autonomy's published annual and quarterly reports had b~en misstated.

                   The ASL Report included a report by Ernst & Young LLP, signed by one of its _partners,

          David Hales, in which Ernest & Young LLP stated that it could not express an opinion on the

          financial statements, Ernst & Young LLP listed various reasons for its disclaimer of opinion,

          stating that "[i]f additional information and evidence had been available to the [Board of

          Directors of ASL], including infmmation that might be identilled from fue ongoing

          investigations, further adjustments might have been required to the reported results." Ernst &

          Young LLP also stated that, regardless of its disclaimer of an opinion on the :financial statements,




          1 After it became an HP subsidiary, ASL delayed filing the restatement as it investigated possible irregularities.

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it held the opinion that the information given in the ASL Report for the :financial year for which

the financial statements were prepared were consistent with the financial statements.

       The United States anticipates Ernst & Young's audit work papers will help establish the

falsity of the Autonomy financial statements upon which HP relied in making its decision to

proceed with the acquisition.

                                          TIIE OFFENSES

       There are no new offenses under investigation since the transmission of the Original
,Request.
                             PERSONS AND ENTITIES INVOLVED

            There are p.o new persons and entities involved since the transmission- of the Original
Request.

                                   ASSISTANCE REQUESTED

Bruiiness Records

       A. For the p_eriod July 1, 2011, to October 31, 2011, please provide complete certified

copies of non-privileged records :from Slaughter and May relating to the data room known as

Project Daniel lRoom, including:

                 1.     Documents placed in the Project Daniel lRoom;

                 2.     E-mails to users of the Project Daniel lRoom;

                 3.     Documents provided by Autonomy for placement in the Project Daniel
                        lRooro;

                 4.     Documents that show the location of the servers where the Project Daniel
                        lRoom was ~aintained; and

                 5.     Documents that show the location of the servers where from which e-
                        mails to users of the Project Daniel lRoom were sent.



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                                                                     To the extent the documents requested in (4) and (5) are not available, please provide a

                                             sworn statement from a person at Slaughter and May with lmowledge as to the location of the

                                             servers.

                                                                    B. For the period 2013 to 2014, please provide complete certified copies of records from

                                            Ernst & Young LLP relating to its engagement to audit the financial statements of ASL and/or

                                             any Autonomy affiliate, including:

                                                                                             1,                     All work papers relating to the engagement;

                                                                                            2.                      All documents provided by ASL and/or Autonomy in the audit;

                                                                                            3.                      All permanent files;

                                                                                            4.                      All billing records; and

                                                                                             5.                     All communications between ASL, Autonomy, and Ernst & Young LLP.

                                                                                                                                      PROCEDURES TO BE FOLLOWED

                                            Business Records

                                                               - Under United States law, foreign business records are usually admitted into e~dence in a

                                            proceeding in the United States after the party offering them proves, through the testimony at trial

                                            of a qualified witness, that:

                                                                    1.                      The records produced are true and accurate copies of original recol'ds in the custody
                                                                                            of the business;                                                                                            . !
                                                                                                                                                                                                          '
                                                                    2.                      The business made or kept the originals in the ordinary course of business and as a
                                                                                            regular business practice; and

                                                                    3.                      The originals were made, at or near the time of the occurrence of the transactions
                                                                                            they record, by a pers·on who either had knowledge of those transactions or received
                                                                                            the information from a person with such knowledge.

                                                                    The testimony of a qualified witness may be unnecessary at trial in the United States where

                                            that witness makes or provides a written declaration in a foreign jurisdiction (i.e., the United

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Kingdom) that (1) contains essentially the same information noted in items one through three

above and (2) subjects the witness to criminal penalties under the laws of the foreign jurisdiction

if the declaration is false.

        In accordanc·e with Article 8(5) of the Treaty, please have the appropriate authorities in the

United Kingdom do the following:

        1.      Require each bank/business official producing records to complete, and sign the
                attached Certificate of Authenticity of Business Records (Appendix A).

        2.      Atta~h the completed certificate to the corresponding records produced by the
                bank/business official and transmit the records with certificate, through or as
                directed by the Central Authority for the United Kingdom, to the U.S. Department
                of Justice, Criminal Division, Office ofinternational Affairs.

        In accordance with Article 10(2) of the Treaty, please invite each bank/business official

producing records to appear, if it should become necessary, at a date to be determined, in San

Francisco, California, at the expense of the United States-government, to testify at trial.

                                           CONTACT

        Please contact Trial Attomey Erin Mikita at the Office of Intemational Affairs at + 1-202-

305-1643 or Erin.Mikita@usdoj.gov should you have any questions concerning this request

We thank you for your continued assistance in this matter conceming Autonomy Corporation.



~ Af" \ 1)) \ 1
Date
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                                                      ~ . Carter
                                                      Acting Deputy Director
                                                      Office of International Affairs
                                                      Criminal Division
                                                      U.S. Department of Justice




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                                APPENDIXA
              CERTIFICATE OF AUTHENTICITY OF BUSINESS RECORDS


I, _______________ (Name), attest on penalty of criminal punishment for

false statement or false attestation that I am employed by

_________________ (Name of Business from which documents are

produced) and that my official title is _ _ _ _ _ _ _ _ _ _ _ _ _ _ (Official Title). I

further state that each of the records attached hereto is the original or a duplicate of the original

of records in the custody of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

(Name of Business from which documents are produced). I further state that:


       A) such records were made at or near the time of the occurrence of the matters set forth,

           by (or from information transmitted by) a person with knowledge of those matters;


       B) such records were kept in the course of a regularly conducted business activity;


       C) the business activity made the records as a regular practice; and


       D) if any of such records is not the original, such record is a duplicate of the original.


_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (Signature)


_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (Date)
                                                                                                                        I
Swom to or affirmed before me, _ _ _ _ _ _ _ _ _ _ _ _(Name), a _ (notary public,
judicial officer, etc.), this ______day of _________, 20_ _ _ __




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